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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

IN RE: Philip William Decker CASE NO. 8:15-bk-06322-CED

CHAPTER 13
f

 

MOTION TO APPROVE PERMANENT MORTGAGE MODIFICATION,

The Debtor, Philip William Decker, by and through his undersigned counsel, hereby files this

Motion to Approve Pennanent Mortgage Modifrcation, and would state the following:

 

NOTICE OF OPPORTUNITY TO
OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or
hearing unless a party in interest files a response within twenty-one (21) days from the date set forth on the attached
proof of service, plus an additional three (3) days for service if any party was served by U`S. Mail.

lf you object to the relief requested in this paper, you must file a response with the Clerk of the Court at Sam M.
Gibbons U.S. Courthouse, 801 North Florida Avenue, Suite 555, Tampa, Florida 33602-3899, and serve a copy on the
movant’s attorney, Melody D. Genson, 2750 Ringling Blvd., Suite 3, Sarasota, Florida, 34237, and any other
appropriate persons within the time allowed. If you file and serve a response within the time permitted, the Court will
either schedule and notify you of a hearing, or consider the response and grant or deny the relief requested without a
hearing

lf you do not file a response within the time permitted, the Court will consider that you do not oppose the relief
requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief
requested.

 

l . The Debtor filed this Chapter 13 bankruptcy case on April 22, 2014, in an attempt

to retain her homestead primary residency.

2 . The Debtor owns certain homestead real property located in Sarasota County,
Florida, commonly known as 7016 40th Court East, Ellenton, Florida 34222, more particularly
described as:

Lot 35, of Oakleaf Hamrnock, Phase l, As per the Plat thereof, Recorded in
Plat Book 46, Page(s] 131 through 136 of the Public Records of Manatee
County, Florida

 

 

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3 . On August 11, 2016, Wells Fargo Bank, NA offered the Debtor a Trial Period
Modification under the HAMP program, with monthly payments of $1,747.35. The Debtor made
the trial payments to Wells Fargo Banl<, NA, in compliance with the Trial Period Modification.

4. On September 7, 2016, the Debtor filed a Motion for Approval of lnterim
Modification of Mortgage, under which the Debtor would make three (3) trial payments, as
follows:

a. Sl,747.35 due September l, 2016
b. 31,747.35 due October 1, 2016
c. 31,747.35 due Novem'oer 1, 2016
5. On September 9, 2016, this Court entered an Order Granting Motion for Court

Approval of lnteriin Modification of Mortgage (Doc. No. 55).

6. The Debtor complied with the terms of the lnterim Modincation of Mortgage, and
Select Portfolio Servicing, Inc., the mortgage servicer. for Wells Fargo Bank, NA, offered the
Debtor a permanent modification (Home Affordable Modification Agreement from Wells Fargo

dated November 16, 2016 attached hereto as Exhibit “A”.)

7. The Debtor has filed this Motion pursuant to 11 U.S.C. §363 for the purpose of
obtaining this Court's approval to proceed With a permanent modification of the First Mortgage on
the Homestead Property in accordance with the terms within the Affordable Modification
Agreement from Wells Fargo dated November 16, 2016, with any appropriate updates.

8. A permanent modification of the first mortgage, on the Debtor’s homestead, is in

the best interest of the Debtor, the creditors, and this Bankruptcy Estate.

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WHEREFORE, the Debtor respectfully requests that this Court enter an order granting
this Motion, approving the permanent modification of the Debtor’s first mortgage on his
homestead property located at 7016 40“‘ Court East, Elienton, Florida 34222, and granting such other

and further relief as is just and proper.

 

Melody D. Géifson, Attorney At Law

CERTIFICATE OF SERVICE

I I-IEREBY CERTIFY that a true and correct copy of the foregoing Motion was sent this

g"‘l_'<-:l-ay of [ Zi W‘-f/i-\ , 2017 either by electronic transmission or by U.S. Mail, postage
prepaid, to the following named addressees: Kelly Remick, Chapter 13 Trustee, P.O. Box 6099, Sun
City Center, Florida 33571-6099; U.S. Trustee’s Off`lce, 501 Polk St., Suite 1200, 'l`ampaJ FL 33602;
Philip William Decker, Debtor, 7016 40‘thourt East, Ellenton, FL 34222,We[ls Fargo Bank, NA, P.O.
Box 650725, Dallas, TX 75265; Greenspoon Marder, PA, Attorney’s For Wells Fargo Bank, NA, Trade
Centre South, Suite 700, 100 West Cypress Creek Road, Fort Lauderdale, FL 33309 ',Wells Fargo Bank,
NA, NA, Attn. Dean R. Anderson, President, 300 WALNUT STREET, DES MOINES LA 503 09-3 605.

aw¢%@:éil(»\

Melody D. Gen%n, Atiomey at Law
2750 Ringling Boulevard, Suite 3
Sarasota, FL 34237

(941) 365-5870

Florida Bar No. 342092

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SELECT
Pert site
SE CING, inc.

December 2, 2016

 

PH|L|P W DECKER
7016 40TH C'i' E
ELLENTON, FL 34222

Re: Account Number: 0015231418
Property Address; 7016 40TH COURT EAST
ELLENTON, FL 34222

Dear Customer(s):

Select Portfolio Servicing, lnc. (SPS), the mortgage servicer on the above referenced account, is sending this to you to provide
information regarding the lien on the real property referenced above. Our records indicate that your obligation has either been
discharged or is subject to an automatic stay order under the United States Banl<ruptcy Code. This notice and any enclosed
documents are for compliance and informational purposes only and do not constitute a demand for payment or an attempt to
collect such obligation Even though your personal liability on the note may be discharged or subject to an automatic stay, the
terms of the mortgage remain in effect and the owner of the moitgage, as lien holder, continues to have a lien on the real
property.

lf there is a_riy bankruptcy proceeding pending that includes the subject property, then you may need to obtain Banl<ruptcy Court
approval prior to any ref nance or sale of the property. Simi|arly, you may need Bankruptcy Court approval of any permanent
modification of the account.

SPS has received your signed modification agreement and we have entered the terms into our system. F’|ease find enclosed a
fully executed copy of the modification agreement

Within 90 days of your modification effective date an escrow analysis will be performed on your account and you will receive ari
escrow analysis statement Please ensure all future payments are made in accordance with the analysis statement and your
monthly billing statement '

Your assigned Relationship Manager, Lizette Torres, can be reached toll free at 800-258-8602 Ext. 36946 or by
email at Re|ationship.l\ilanager@$PServicing.com.

At SPS, any of our trained servicing representatives can assist you with answers to your questions about the status or history of
your account, document requirements, or any of our available loan resolution options. lf you have any questions or concernsl
please contact our Customer Service Depaitment. Our toll-free number is 888-818-6032, and representatives are available
Monday through Thursday between the hours of 8 a.m. and 11 p.m., Friday from 8 a.m. to 9 p.m.l and Saturday from 8 a.m. to 2
p.m., Eastern Time.

Sincerely,

Select Portfolio Servicing, lnc.

Esta carta contiene informacic'in importante concerniente a sus derechos. Por favor, traduzca esta carta. Nuestros
representantes bilingues estan a su disposicion para contestar cualquier pregunta. Llamenos al numero 800-831-0118 y
seleccionei'marque ia opcion 2.

This information is intended for informational purposes only and is not considered an attempt to collect a debt.

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investor l_oari # 0016525453

HOME AFF_ORDABLE MODIF|CATEON AGREEMENT
[Step 'l`wo of Two-Step Documeritation Process)

Borrower (“|"):1 PH|L|P W DECKER

Lender or Servi‘cer {"Lender"}: Seiect Portfolio Servicing, lnc.

Date of first lien mortgage. deed of trust, or security deed ("Nlortgage”) and Note ("Note”): June 30, 2006
Loan Number: 0015231418

Property Address [and Legal Description ii recordation is necessary] (“Propeity"):

7016 4IJTH COURT EAST

ELLENTON, FL 34222

lf my representations in Section 1 continue to be true in ali materiat respects, then this Home Affordable Moditication
Agreernent ("Agreement") willl as setforth in Section 3, amend and supplement (1) the Mortgage on the Property, and
(2) the Note secured by the Mortgage. The Mortgage and Note together, as they may previously have been
amended are referred to as the “Loan Documents." Capita|ized terms used in this Agreement and not defined have
the meaning given to them in Loan Documerits.

`l understand that after l sign and return two copies of this Agreement to the Lender, the Lender wilt send me a signed
copyfofdthis Agreement. This Agreement will not take effect unless the preconditions set forth in Section 2 have been
satls ie . `

1. My Representations and Covenants. | certify, represent to Lender, covenant and agree:

A. l am experiencing a Hnancial hardship, and as a result, (i) l am iri default under the Loan Docurnents or
default is imminent and (ii) i do not have sufhcient income or access to sufficient liquid assets to make the
monthly mortgage payments now or in the near future;

One of the borrowers signing this Agreenient lives in the Property as a principal residence, and the Property
has not been condemned,'

C. There has bee`n no impermissible change in the ownership of the Property since l signed the Loari
Documents. A permissible change would be any transfer that the lender is required by law to allow, such as
a transfer to add or remove a family member. spouse or domestic partner of the undersigned in the event of
a death. divorce or marriage;

D. | have provided documentation for all income that l receive (and l understand that | am not required to
disclose child support or alimony unless l chose to rely on such income when requesting to qualify for the
Home Affordable Modihcation program (“Program"));

E. Under penalty of perjury, all documents and information | have provided to Lender in connection with this
Agreement, including the documents and information regarding my eligibility for the Program. are true and
correct;

F. lf Lender requires me to obtain credit counseling in connection with the Program, l wilt do so; and

G. l have made or will make all payments required under a Tria| Period Plan or Loan Workout Plan.

2. Acknowledgements and Preconditions to Modification. l understand and acknowledge that‘.

A. lf prior to the Modification Effective Date as set forth in Section 3 the Lender determines that any of my
representations in Section 1 are rio longer true and correct or any covenant in Section 1 has not been
performedl the Loan Documents will not be modined and this Agreement will terminate |n that event, the
Lender will have aii of the rights and remedies provided by the Loan~Documents; and

B. l understand that the Loan Documents will not be modified unless and until (i) the Lender accepts this
Agreement by signing and returning a copy of it to me, and (ii) the Modification Effective Date (as defined in
Section 3) has occurred i funher understand and agree that the Lender will not be obligated or bound to
make any modification of the Loan Documents if | fail to meet any one of the requirements under this
Agreement. ~

 

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l i_l. l'more iiiai-i urie BEriuwer or' Mongagor is execEling iiiis dno.imenl. each ls referred to as 'l.’ For purposes or this document words signifying the singular (such as ‘l‘)
l shall include the plural (such as ‘we') and vice versa where appropriaie.

MULT|ETATE HOME AFFORDABLE MODIF|CAT|ON AGREEMENT - S'Ing|e Famiiy - Fannie Mae!Freddie Mac
UN|FORM lNSTRi.lMENT Forn'i 315?
Defen'ed Pi'in:ipa| Balance 107177?‘

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3. The Modific_a_tion. if my representations and covenants in Sectlon 1 continue to be true in all material respects and
ail preconditions to the modification set forth in Seclion 2 have been met, the l_oan Documents will automatically
become modified ci_n December 'l, 2016 (the “Nlodification Effective Date") and all unpaid late charges that remain
unpaid will be waived l understand that if l have failed to make any payments as a precondition to this

modification under a workout plan or trial period pian, this modification will not take effectl The first modified
payment will be due ori Decernber1, 2016.

A. The Maturity Date will be: July 1, 2036.

B. The modified principal balance of my Note will include all amounts and arrearages that will be past due as of
the Modification Effective Date (including unpaid and deferred interestl fees, escrow advances and other
costs, but excluding unpaid late charges collectively, Unpaicl Amounts) less any amounts paid to the Lender
but not previously credited to my Loan. The new principal balance of my Note will be $581,432.55 (the “New
Principal Ba|ance"). The New Princlpal Ba|ance will consist of two (2) parts: (i) an amount which will accrue
interest at the Note rate shown beiow, and on my monthly statement as interest Bearing Principai Ba|ance
and (ii) an amount which will not accrue interest, shown below, and on my monthly statement as Deferred
Principal Ba|ance.

C. $141,932.55 of the New Principai Ba|ance shall be deferred (the Deferred Pr§ncipal Ba|ance) and will be
treated as a non-interest bearing principal forbearance | will not pay interest or make monthly payments on
the Deferred Principal Ba|ance. in addition, $135,807.55 of the Deferred Princlpal Baiance is eligible for
forgiveness (the Deferred Principal Reduction Amount). Provided | am not in default on my new payments
such that the equivaient of three full monthly payments are due and unpaid on the last day of any month. on
each of the first, second and third anniversaries of your first trial period payment date for three years, the
Lender shail reduce the Deferred Principa| Ba|ance of my Note in installments equal to one-third of the
Deferred Principa| Reduction Amount. Application of the Deferred Principa| Reduction Amount will not result
in a new payment schedule The New Principal Belance less the Deferred Principa| Ba|ance shall be
referred to as the interest Bearing Principal Ba|ance and this amount is $439.500.00. interest at the rate of
2.000% wi'Ii begin to accrue on the lnlerest Bearlng Princlpal Balance as of November 1, 2016 and the first
new monthly payment on the lnterest Bearing Principai Ba|ance will be due on December 1, 2016. My
payment schedule for the modified Loan is as follows: ~

 

Years lnterest interest Rate Monthly Estimated Totail\/lonthiy Payrnent Number
Rate Change Date Prlncipal lvionthly Payment* Begins On of

 

and lnterest Escrow Month|y
Payment Payment Pay-
Amount Amount* merits

 

1-5 2.000% 11!01/20‘§6 $1,330.92 8416.46, $1,747.33, 12f01i'2016 60
may adjust may adjust
periodically periodically
6 3.000% 11101/2021 $1,546.22_ lvlayadjust Mayadjust 12101)'2021 12
periodically periodically

 

 

7-20 3.500% 11/01!2022 $1,657.83 Nlay adjust May adjust 12101/2022 164
periodically periodically

 

 

 

 

 

 

 

 

A final balloon payment on the interest Bearing Prlncipai Ba|ance of $289,124.79 is due
on the Maturity Date.

 

 

 

The Deferred Principal Balance of $14‘£,932.55 less any Deferred Principai Reduction Amount to which l am
entitled will be due as a balloon payment on the earlier of, payoff of the interest Bearing Principal Ba|ancel
transfer of the property or on the lvlodiHed lVlaturity Date. The above terms in this Section 3.C. shall
Supersede any provisions to the contrary in the Loan Documents, including but not limited to, provisions for
an adjustable or step interest rate.

 

*The escrow payments may be adjusted periodically iii accordance with applicable law and therefore my total
monthly payment may change accordingly

The above terms in this Section 3.C. shall supersede any provisions to the contrary iri the Loan Documents,
including but not limited to, provisions for an adjustable, step or simple interest rate.

MULT|STATE HGME AFFORDABLE MDD|FICAT[ON AGREEMENT - Slng|e Farni`ly - Fannle Mae.'i-'reddia Mac
UNlFORM |NSTRUMENT Fon'ri 315? 1
Deferred Principa| Ba|ance 1071?7?

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G.

| understand that, if _| have _a pay option adjustable rate mortgage ioan, upon modification the minimum
monthly payment option, the interest-only or any other payment options will no longer be offered and that the
monthly payments described in the above payment schedule for my modified Loan will be the minimum
payment that will be due each month for the remaining term of the Loan. iviy modified Loan will not have a
pegative amortization feature that would allow me to pay less than the interest due resulting in any unpaid
interest to be added to the outstanding principal baiance.

l further understand that. provided l am not in default under the terms of this Agreement and l pay my Note in
full (i) any time more than 30 calendar day after the ivlodihcation Effective Date, and (ii) prior to the
application of the entire Deferred Principai Reduction Amount, i shall be fully vested in and entitled to the
unappli'ed amount of the Deferred Pn'nci'pai Reduction Amount and the unappiied amount shall be deducted
from my pay off balance.

l will be in default if i do not comply with the terms of the Loan Documents, as modified by this Agreement.

if a default rate of interest is permitted under the Loan Documents, then in the event ot default under the
Loan Documents, as amended. the interest that will be due will be the rate set forth iri Section 3.C.

l agree to pay in full the Deferred Principai Ba|ance less any Deferred Principai Reduction Amount to which l
am entitled. and any other amounts still owned under the Loan Docurnents by the earliest of: (i) the date l
sell or transfer an interest in the Propeity, (ii) the date l pay the entire interest Bearing Principal Ba|ance, or
(iii} the illiaturity Date.

if i make a partial prepayment of Principal, the Lender may apply that partial prepayment first to any Deferred
Principai Ba|ance before applying such partial prepayment to other amounts due.

4. Additiona| Agreements. l agree to the foilowing:

A.

or=-_'- ,

 

'.\'l

That ali persons who signed the Loan Documents or their authorized representative(s} have signed this
Agreemerit, unless (i) a borrower or cc-borrower is deceased; (ii) the borrower and co-borrower are divorced
and the property has been transferred to one spouse in the divorce decree, the spouse who no longer has an
interest in the property need not sign this Agreement (although the non-signing spouse may continue to be
held liable for the obligation under the Loan Documents); or (iii) the Lender has waived this requirement in
writing.

That this Agreement shall supersede the terms of any modification, forbearance, Triai Period Pian or other
Workout Pian thati previously entered into with Lender.

To comply, except to the extent that they are modified by this Agreementl with ali covenants. agreements
and requirements cf Loan Documents including my agreement to make ali payments of taxes, insurance
premiums, assessments Escrow items, impounds. and all other payments. the amount of which may change
periodically over the term of my Loan.

MULT|STATE HOME AFFDRDABLE MOD|F|CAT[ON AGREEMENT - Sing|e Fln-ii|y- Fann'ie Maei'Freddia Mac
UNlFORM iNSTRUMENT Fi:in'ri 315?
Osiarred Pn'ricipa| Ba|ance 1071777

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00108861000024030400 ». ~ 1a

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Funds for Escrow ltems. i will pay to Lender on the day payments are due under the Loan Documents as
amended by this Agreement, until the Loan is paid iri fuli, a sum (the “Funds") lo provide for payment of
amounts due ton (a) taxes and assessments and other items which can attain priority over the Mortgage as a
lien o_r encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and ali insurance required by Lender under the Loan Documents; (d) mortgage insurance
premiums, if a_ny, or any sums payable to Lender iri lieu of the payment of mortgage insurance premiums in
accordance with the Loan Documents; and (e) any community association dues, fees, and assessments that
Lender requires to be escrowed. These items are called “Escrow ltems." l shall promptly furnish to Lender
ali notices of amounts to be paid under this Section 4.D. l shall pay Lender the Funds for Escrow items
uniess'Lender waives my obligation to pay the Funds for any or ali Escrow ltems. Lender may waive my
obligation to pay to Lender Funds for any or all Escrow items at any time, Any such waiver may only be in
writing. in the event of such waiver, l shall pay directly, when and where payabie, the amounts due for any
Escrow items for which payment of Funds has been waived by Lender and, if Lender requires, shall fumish
to Lender receipts evidencing such payment within such lime period as Lender may require. My obligation to
make such payments and to provide receipts shall for ali purposes be deemed to be a covenant and
agreement contained in the Loan Documentsl as the phrase “covenant and agreement" is used in the Loan
Documents. if l am obligated to pay Escrow items directly, pursuant to a waiver, and l fail to pay the amount
due for an Escrow item, Lender may exercise its rights under the Loan Documents and this Agreement and
pay such amount and l shall then be obligated to repay to Lender any such amount. Lender may revoke the
waiver as to any or ali Escrow items at any time by a notice given in accordance with the Loan Documents.
and, upon such revocation | shall pay to Lender all Funds, and in such amcunts, that are then required
under this Section 4.D.

Lender may, at any time, collect and hold Funds iri an amount (a) sufhcient to permit Lender to apply the
Funds at the time specified under the Reai Estate Set'tlement Procedures Act ("RESPA"), and (bj not to
exceed the maximum amount a lender can require under RESPA. Lender shall estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow items or
otherwise in accordance with applicable iaw.

'l`he Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality. or
entity (including Lender, if Lender is an institution whose deposits are so insured) or iri any Federal l-iome
l_oan Bank. Lender shall apply the Funds to pay the Escrow items no later than the time specined under
RESPA. Lender shall not charge me for holding and applying the Funds, annually analyzing the escrow
account. or verifying the Escrow items, unless Lender pays me interest on the Funds and applicable law
permits Lender to make such a charge. Un|ess an agreement is made in writing or applicable law requires
interest lo be paid on the Funds, Lender shall not be required to pay me any interest or earnings on the
Funds. Lender and | can agree in writing, however, that interest shall be paid on the Funds. Lender shall
provide me, without charge, an annual accounting of the Funds as required by RESPA.

if there is a surplus cf Funds held in escrow, as defined under RESPA, Lender shall account to me for the
excess funds in accordance with RESPA. if there is a shortage of Funds held in escrow, as defined under
RESPA, t_ender shall notify me as required by RESPA, and l shall pay to Lender the amount necessary to
make up the shortage in accordance with RESPA, but in no more than 12 monthly payments If there is a
deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify me as required by RESPA,
and l shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in
rio more than 12 monthly payments.

Upon payment iri full of all sums secured by the Loan Documents, Lender shall promptly refund to me any
Funds held by Lender.

'l'hat the Loan Documents as modified by this Agreement are duly valid. binding agreements, enforceable in
accordance with theirterms and are hereby reafhrmed.

`That ali terms and provisions of the Loan Documents. except as expressly modified by this Agreement.
remain in full force and effecl; nothing in this Agreemen'i shall be understood or construed to be a satisfaction
or release in whole or in part of the obligations contained in the Loan Documents; and that except as
otherwise specifically provided in, and as expressly modified by, this Agreernent, the Lender and l will be
bound by, and will comply with, ali of the terms and conditions of the Loan Documents.

MULT|STATE HOME lPiFFDRDABLE MOD|F|CAT|ON AGREEMENT - Sing|e Fan'\iiy- Fannie MaaIFreddie Ma¢:
UN|FORM lNSTRLlMENT Form 3157
Deferred Principal Ba|ance 1071???

 

 

 

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That, as of the Modification Effective Date, notwithstanding any other provision of the l_oan Documents, if all
or any part of th_e Property or any_interest in it is sold or transferred without Lender's prior written consent.
l.erider may, a_t its option_, require immediate payment in full of all sums secured by the Mortgage. Lender
shall not exercise this option if state or federai law, rules or regulations prohibit the exercise of such option as
of the date of such 'saie or transfer. if Lender exercises this option, Lender shall give me notice of
acceleration lThe notice shall provide a period of not less than 30 days from the date the notice is delivered
or mailed within which l must pay all sums secured by the Mortgage. if l fail to pay these sums prior to the
ex§irationdof this period, Lender may invoke any remedies permitted by the Mortgage without further notice
or eman on me. '

That, as of the Modification Effective Date, l understand that the Lender will only allow the transfer and
assumption of the Loan. incfuding this Agreement, to a transferee of my property as permitted under the
Garn St. Germain Act, 12 U.S.C. Section 17011`»3. A buyer or transferee of the Property will not be permitted,
under any other circumstance, to assume the Loan. Except as noted herein, this Agreement may not be
assigned to, or assumed by, a buyer or transferee of the Property.

That, as of the Modification Effective Date, if any provision in the Note or in any addendum or amendment to
tha[ Noée al_|cawed for the assessment of a penalty for full or partial prepayment of the i`\iotel such provision is
nu an vol .

That, l will cooperate fully with Lender iri obtaining any title endorsement(s), or similar title insurance
product(s), and/or subordination agreement{s) that are necessary or required by the Lender`s procedures to
ensure that the modified mortgage loan is in first lien position and/or is fully enforceable upon modification
and that if, under any circumstance and notwithstanding anything‘else to the contrary in this Agreement. the
Lender does not receive such title endorsement(s)r title insurance product{s) and/or subordination
agreement(s), then the terms of this Agreement will not become effective on the lv|odification Effective Date
and the Agreement will be null and void.

That l will execute such other documents as may be reasonably necessary to either (i) consummate the
terms and conditions of this Agreement; or (ii) correct the terms and conditions of this Agreement if an error
is detected after execution of this Agreement. l understand that either a corrected Agreement or a ietter
agreement containing the correction will be provided to rne for my signature. At Lender`s option, this
Agreement will be void and of no legal effect upon notice of such error. if l elect not to sign any such
corrective documentation, the terms of the original Loan Documents shall continue in full force and effect,
such terms will not be modified by this Agreement, and l wiii not be eligible for a modification under the
Home Affordabie Moditication program.

Mortgage E|ectronic Registration Systems, lnc. ("|VlERS") is a separate corporation organized and existing
under the laws of Deiaware and has an address and telephone number of P.O. Box 2026, F|infl M|

- 48501-2026. SBB»SYQ-MERS. in cases where the loan has been registered with MERS who has only legal

title to the interests granted by the borrower in the mortgage and who is acting solely as nominee for Lender
and Lender's successors and assignsl MERS has the right: to exercise any or ali of those interests,
inciuding. but not limited to, the right to foreciose and sell the Property; and to take any action required of
Lender including, but not limited to, releasing and canceling the mortgage loan.

That Lender will collect and record personal information, inciudlng. but not limited to, my name, address,
telephone number, social security numberl credit score, income, payment history, government monitoring
lnformation, and information about account balances and activity. in addition, l understand and consent to
the disclosure of my personal information and the terms of the Triai Period Plan and this Agreement by
Lender to (i) the U.S. Department of the Treasury, (ii) Farinie iviae and Freddie Mac in connection with their
responsibilities under the Home Affordabiilty and Stability Pian; (iii) any investor, insurer, guarantor or
servicer that owns, insures, guarantees or services my first lien or subordinate lien (if applicabie) mortgage
loan(s); {iv) companies that perform support services for the Home Affordabie Niodification Program and the
Second i_ien ivlodification Program; and (v) any HUD certified housing counselor.

That if any document retated to the Loan Documents andi'or this Agreement is iost, mispiaced, misstated,
inaccurately reflects the true and correct terms and conditions of the loan as modined, or is otherwise
missing, l wilt comply with the Lender`s request to execute, acknowledgel initial and deliver to the l.ender any
documentation the Lender deems necessary. if the Note is replaced, the i_ender hereby indemnifies me
against any loss associated with a demand on the Note. All documents the Lender requests of me under this
Section 4.N. shall be referred to as "Documents." l agree to deliver the Documents within ten (10) days after
l receive the Lender`s written request for such replacement

MULT|$TATE HOME AFFORDABLE MDD|F|CAT|ON AGREEMENT - Single Famii)r- Fanrtie MlelFmddia Mac
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Deferred Principa| Ba|ance 1071777

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O. Tha_t t_he mortgage insurance.premiums on my Loan, if applicable may increase as a result of the
capitaitzatlon which will result in a higher total monthly payment Furtherrnorel the date on which | may
request cancellation ot mortgage insurance may change as a resutt of the New Principal Ba|ance.

BALLOON NOT|CE. |n order to reach an affordable payment, we extended your amortization term, which is the rate
or speed by which your mortgage is calculated to be paid oif; however, your maturity term, which is the period of time
until your mortgage becomes due and payable, could not be fully extended to an equal term. This is because the
investor on your account allows ustc change your amortization term but does not allow us to change the maturity term
to match. As a result of the difference between these two periods, there will be an amount due $289.124.?9 on the
date your lien matures on July 1. 2036. The amount due at maturity is in addition to your monthly scheduled payment
and the principal forbearance of $141,932.55 that you received as part of your modification

lo Witness Whereof, the Lender and t have executed t ' t.

(Seal)
Select Portfo|io Servicihg, lnc. PH|LlP DEC

/////§//g Date

By: (Seat)
Brooke Horrock's
Document Control Otticer

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MULTESTATE HOME AFFCIRDABLE MOD\F|CAT|ON AGREEMENT - Single Family - Fannie Maei'FJeddie Mac
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